
GastoN, Judge,
after stating the case as above, proceeded as follows: We approve of the opinion expressed by his Honor. The offer of the defendant unless accepted by the plaintiff, was in no way obligatory. Neither was it an admission of the fact that the defendant owed the sum of fifty dollars. In all fairness it must be understood with reference to the subject matter before the parties, which was an attempt to adjust a disputed claim. It was a proposition, whether that claim- were well or ill founded, to pay a specific sum as the price of peace. As the plaintiff did not accede to the proposition, the rights of the parties remained precisé! y as they were before the propositition was made. The judgment is affirmed.
Pee, Curiam. Judgment affirmed.
